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                                                                                                        Bryan T. Mohler
                                                                                                    Direct Tel: 212-326-0466
                                                                                                    Direct Fax: 212-326-0806
                                                                                            BMohler@PRYORCASHMAN.com


                                                         July 1, 2019
VIA CM/ECF

Judge Edgardo Ramos
Thurgood Marshall                                                                                              July 1, 2019
United States Courthouse
40 Foley Square
New York, New York 10007

        Re:      Ithaca Capital Investments I, S.A., et al. v. Trump Panama Hotel Management
                 LLC, et ano., No. 18 Civ. 390 (ER) –Defendants’ Request for Informal
                 Conference regarding Proposed Confidentiality Order

Dear Judge Ramos:

        We represent Defendants/Counterclaim-Plaintiffs (“Defendants”) in the above-referenced
action and write concerning a dispute between the parties concerning a proposed confidentiality
order in this action. Pursuant to Section 2.A.i. of Your Honor’s Individual Practices, we write to
request an informal conference in connection the parties’ disputes concerning a proposed
confidentiality order in this action. 1

        Pursuant to the May 16, 2019 Civil Case Discovery Plan & Scheduling Order (ECF No.
71), as modified by the Court’s June 17, 2019 Order on the parties’ letter motion for an extension
of time (ECF No. 78), the parties were to submit a proposed confidentiality order in this action on
or before June 28, 2019. Despite several meet and confers regarding details of the proposed
confidentiality order, however, the parties are at an impasse regarding two key details of such an
order – (i) a use restriction; and (ii) a second-tier designation for highly confidential material.

       On June 28, 2019 and despite Your Honor’s Individual Practices regarding discovery
disputes, plaintiffs filed a letter brief requesting the Court adopt one of their proposed forms of
confidentiality order (See ECF No. 82). Defendants are prepared to respond to plaintiffs’
improperly-filed letter brief in writing if the Court so permits; alternatively, these issues can be
discussed with the Court at an informal conference.




1
 As required by Local Rule 37.2 and Section 2.A.i of Your Honor’s Individual Practices, the parties have engaged in
multiple telephone meet and confers regarding the proposed confidentiality order, including a 30-minute telephone
conference on June 20, 2019; a 30-minute telephone conference on June 25, 2019; and a brief telephone conversation
on June 28, 2019, in addition to numerous exchanges of drafts via e-mail.
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      We thank the Court for its attention to this matter.

                                                Respectfully submitted,



                                                Bryan T. Mohler


cc:   Counsel of Record (via CM/ECF)



                                                  The Parties are directed to attend a
                                                  conference on July 17, 2019 at 2:00 pm.




                                                             July 1, 2019
